  Case 3:16-cv-00565-L Document 7 Filed 03/28/16   Page 1 of 16 PageID 117


                 IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

WESTERN HEALTHCARE, LLC      §
         Plaintiff,          §
                             §
v.                           §
                             §
NATIONAL FIRE AND MARINE     §                NO. 3:16-CV-00565-L
INSURANCE COMPANY;           §
HEALTHCARE LIABILITY         §
SOLUTIONS, INC; THE MEDICAL  §
PROTECTIVE COMPANY;          §
BERKSHIRE HATHAWAY INC.; RAJ §
MEHTA and THOMAS MEIERANT    §
          Defendants.        §


     PLAINTIFF WESTERN HEALTHCARE LLC’S MOTION TO REMAND
     Case 3:16-cv-00565-L Document 7 Filed 03/28/16                                                Page 2 of 16 PageID 118


                                                     TABLE OF CONTENTS


TABLE OF AUTHORITIES ......................................................................................................... iii	  

      Summary of Motion ................................................................................................................. 1	  

      Factual Background ................................................................................................................. 1	  

      Legal Standard ......................................................................................................................... 4	  

      Argument and Authorities ....................................................................................................... 4	  

            A.	   Western’s state court petition lacks diversity on its face. ......................................... 5	  

            B.	   HLS was properly joined as a party in Western’s Petition. ...................................... 5	  

                   i.	   Improper joinder only arises when there is no possibility of recovery
                           under Texas pleading standards. ........................................................................ 5	  

                   ii.	   Removing Defendants cannot meet their burden to show that there is
                           no possibility of recovery against HLS under Texas pleading
                           standards............................................................................................................. 7	  

                   iii.	   The cases relied on by the Removing Defendants to support improper
                            joinder are inapplicable because they apply the wrong pleading
                            standard. ........................................................................................................... 10	  

            C.	   The Court should award Western its attorneys’ fees associated with
                   pursuing remand. ..................................................................................................... 11	  

      Conclusion ............................................................................................................................. 11	  

CERTIFICATE OF SERVICE ..................................................................................................... 12	  




PLAINTIFF WESTERN HEALTHCARE LLC’S MOTION TO REMAND                                                                                                  ii
     Case 3:16-cv-00565-L Document 7 Filed 03/28/16                                        Page 3 of 16 PageID 119


                                               TABLE OF AUTHORITIES

Cases	  

African Methodist Episcopal Church v. Lucien
     756 F.3d 788 (5th Cir. 2014) ................................................................................................... 5

Ashcroft v. Iqbal
    556 U.S. 662 (2009)............................................................................................................... 10

Barclay v. State Farm Lloyds
    CIV.A. H-14-3649, 2015 WL 1408185 (S.D. Tex. March 26, 2015) .................................. 10

Bell Atl. Corp. v. Twombly
     550 U.S. 544 (2007)............................................................................................................... 10

Bosky v. Kroger Texas, LP
    288 F.3d 208 (5th Cir. 2002) ................................................................................................... 4

Boyles v. Kerr
    855 S.W.2d 593 (Tex. 1993) ............................................................................................... 7, 9

Brankin v. Time Ins. Co.
    4:08-CV-666-Y, 2009 WL 614818 (N.D. Tex. Mar. 10, 2009) .............................................. 9

Druker v. Fortis Health
   CIV.A. 5:06-CV-00052, 2007 WL 38322 (S.D. Tex. Jan. 4, 2007) ...................................... 10

Eastus v. Blue Bell Creameries, L.P.
    97 F.3d 100 (5th Cir. 1996) ..................................................................................................... 4

Griggs v. State Farm Lloyds
    181 F.3d 694 (5th Cir. 1999) ........................................................................................... 10, 11

Guillory v. PPG Indus., Inc.
    434 F.3d 303 (5th Cir. 2005) ................................................................................................... 6

Horizon/CMS Healthcare Corp. v. Auld
    34 S.W.3d 887 (Tex. 2000) ............................................................................................. 6, 8, 9

Int'l Energy Ventures Mgmt., L.L.C. v. United Energy Group, Ltd.
      800 F.3d 143 (5th Cir. 2015) ............................................................................................. 6, 10

Kokkonen v. Guardian Life Ins. Co. of Am.
   511 U.S. 375 (1994)................................................................................................................. 4

Martin v. Franklin Capital Corp.
   546 U.S. 132 (2005)............................................................................................................... 11

PLAINTIFF WESTERN HEALTHCARE LLC’S MOTION TO REMAND                                                                                    iii
     Case 3:16-cv-00565-L Document 7 Filed 03/28/16                                           Page 4 of 16 PageID 120


May v. United Services Ass'n of Am.
   844 S.W.2d 666 (Tex. 1992) ................................................................................................... 9

Richard v. Time Warner Cable Media, Inc.
    960 F. Supp. 2d 659 (N.D. Tex. 2013) .................................................................................. 11

Scarlott v. Nissan N. Am., Inc.
    771 F.3d 883 (5th Cir. 2014) ................................................................................................... 4

Smallwood v. Illinois Cent. R. Co.
   385 F.3d 568 (5th Cir. 2004) ................................................................................................... 5

Texas Dept. of Parks & Wildlife v. Miranda
    133 S.W.3d 217 (Tex. 2004) ................................................................................................... 6

Statutes	  

28 U.S.C. § 1332(a) ........................................................................................................................ 8

28 U.S.C. § 1447(c) ...................................................................................................................... 11

Rules	  

Texas Rule of Civil Procedure 45 ................................................................................................... 6

Texas Rule of Civil Procedure 47 ............................................................................................... 6, 9

Codes	  

Tex. Bus. & Com. Code § 17.46(b) ................................................................................................ 8

Tex. Ins. Code § 541.051 ................................................................................................................ 8

Tex. Ins. Code § 541.151 ................................................................................................................ 8




PLAINTIFF WESTERN HEALTHCARE LLC’S MOTION TO REMAND                                                                                        iv
    Case 3:16-cv-00565-L Document 7 Filed 03/28/16                 Page 5 of 16 PageID 121


       Plaintiff Western Healthcare, LLC (“Western”) files this Motion to Remand and would

respectfully show the Court as follows:

                                       Summary of Motion

       Western, a Texas physician staffing service, hired Healthcare Liability Solutions, Inc.

(“HLS”), a Texas company, to assist it in finding appropriate malpractice insurance. Western

provided HLS with its specific insurance needs. When HLS came back with an insurance policy

proposal from National Fire and Marine Insurance Company, HLS represented that the policy

and insurance company met those needs. It did not. But, in reliance on those representations,

Western accepted the proposal and obtained the policy. The misrepresentations about the policy

perpetuated by HLS led to Western incurring substantial damages in connection with a

malpractice lawsuit. Despite HLS’s clear involvement, the other Defendants have argued it is not

properly joined in this case and, therefore, diversity of citizenship exists justifying removal. This

assertion is incorrect. Western’s Petition asserts valid claims for which there is no diversity of

citizenship; accordingly, this Court lacks jurisdiction and this cause must be remanded.

                                       Factual Background

       This lawsuit involves a series of claims brought by Western against its insurance broker,

insurance companies, insurance claims handler and their employees for damages incurred by

Western that should have been either entirely avoided but for Defendants’ wrongful conduct in

representing and selecting the policies at issue and in administering claims brought thereunder.

       As part of its business, Western is required to provide insurance coverage for the

physicians with whom it contracts to perform services at its clients’ healthcare facilities. Ex. A,

Pl.’s Original Petition, at ¶ 11. Western retained HLS to assist it in selecting insurance for its

business that met its specific needs. Id. Western provided HLS with the specific insurance



PLAINTIFF WESTERN HEALTHCARE LLC’S MOTION TO REMAND                                                1
   Case 3:16-cv-00565-L Document 7 Filed 03/28/16                Page 6 of 16 PageID 122


requirements it needed to fulfill. Id. Having been provided with Western’s insurance

requirements, HLS submitted a proposal to Western purporting to meet Western’s insurance

needs. Id. The proposal identified Defendant National Fire and Marine (“NFM”) as the insurer,

and proposed a specific policy as meeting Western’s insurance needs. Id. In reliance upon HLS’s

representations as to the quality of NFM and that the specific coverage met Western’s

requirements, Western accepted HLS’s proposal and obtained an insurance policy from NFM. Id.

Western paid NFM substantial premiums, a portion of which, on information and belief, were

paid to HLS. Id.

       Contrary to HLS’s representations, the insurance coverage Western purchased based

upon HLS’s representations was inadequate. In October 2012, Western and one of its physicians

were sued in state court in St. Clair County, Illinois. Ex. A at ¶ 12. The claim was reported to

Raj Mehta, and employee of Berkshire Hathaway Inc. (“Berkshire”) and an agent for NFM. Id.

The malpractice lawsuit fell squarely within the policy NFM provided to Western and it accepted

tender of the defense without reservation. Id. Mehta selected counsel for Western and assigned

the claims handling responsibilities to The Medical Protective Company (“MedPro”), who in

turn assigned responsibility over the case to its employee, Thomas Meierant. Id.

       In the course of this litigation, Western was asked to provide a copy of its insurance

policy and to state the amount of coverage available to resolve the claims against Western and its

physician. Ex. A at ¶ 13. Western’s attorneys in that lawsuit requested the information from

Meierant. Western was not provided with a copy of the full policy, but was told that full policy

limits were available to settle the claims. Id. Believing that HLS had recommended a policy that

met its requirements, Western’s counsel responded that the full amount of the policy limits were

available. Id. This, however, turned out to be incorrect because, unbeknownst to Western, the



PLAINTIFF WESTERN HEALTHCARE LLC’S MOTION TO REMAND                                             2
   Case 3:16-cv-00565-L Document 7 Filed 03/28/16                 Page 7 of 16 PageID 123


policy was an “eroding limits” policy, and the limits had already eroded at the time that Western

answered the discovery requests regarding the availability of insurance proceeds. Id. at ¶ 14.

       Based upon Western’s counsel’s representations, Western was eventually dismissed from

the lawsuit. Ex. A at ¶ 13. During a mediation in August 2015, however, it came to light that the

policy was an eroding limits policy and had already been substantially eroded. Id. at ¶ 15. The

plaintiff filed a motion for sanctions against Western claiming that the discovery responses were

knowingly false and that the voluntary dismissal of Western was therefore procured by fraud. Id.

The attorneys retained by NFM to defend Western appeared at the hearing and, without

Western’s knowledge or consent, agreed that Western should be brought back into the lawsuit to

allow the court to adjudicate the sanctions motion against it and agreed to waive notice and

accept service on Western’s behalf. Id. at ¶ 16. After doing so, NFM’s chosen counsel claimed a

conflict existed and they could no longer represent Western with respect to the sanctions issue.

Id. at ¶ 17. Western asked NFM to appoint new counsel under the NFM policy, but NFM

refused. Id. Thus, neither the insurance coverage, nor the insurer providing it, were of the quality

and content represented by HLS. Id. at ¶¶ 11-17.

       On January 11, 2016 Western filed suit against HLS and several other defendants in

Texas state court. As to HLS, Western alleged claims for violations of the Texas Insurance Code,

violations of the Texas Deceptive Trade Practices Act, and negligence. Ex. A at ¶ 34-52. On

February 29, 2016, NFM and Defendants The Medical Protective Company, Berkshire Hathaway

Inc. and Thomas Meireant (collectively “Removing Defendants”) filed a notice of removal,

claiming diversity jurisdiction existed because the only non-diverse defendant, HLS, was

improperly joined. Notice of Removal, Dkt. 1 at 3. As explained below, however, HLS was not




PLAINTIFF WESTERN HEALTHCARE LLC’S MOTION TO REMAND                                               3
    Case 3:16-cv-00565-L Document 7 Filed 03/28/16                 Page 8 of 16 PageID 124


improperly joined, and this case should therefore be remanded. Western is also entitled to its fees

for having to bring this action.

                                          Legal Standard

       The federal courts are courts of limited jurisdiction; they have authority to adjudicate

only those cases that satisfy either the requirements of subject matter jurisdiction under 28

U.S.C. § 1331 or diversity jurisdiction under 28 U.S.C. § 1332(a). Kokkonen v. Guardian Life

Ins. Co. of Am., 511 U.S. 375, 377 (1994). “It is to be presumed that a cause lies outside this

limited jurisdiction, and the burden of establishing the contrary rests upon the party asserting

jurisdiction.” Id. (internal citations omitted). This principle is no less applicable when the court’s

jurisdiction has been invoked through the removal process under 28 U.S.C. § 1446. Indeed, there

is a “long-standing canon of statutory interpretation that ‘removal statutes are to be construed

strictly against removal and for remand.’” Bosky v. Kroger Texas, LP, 288 F.3d 208, 211 (5th

Cir. 2002) (quoting Eastus v. Blue Bell Creameries, L.P., 97 F.3d 100, 106 (5th Cir. 1996)).

“Any ambiguities are construed against removal and in favor of remand to state court.” Scarlott

v. Nissan N. Am., Inc., 771 F.3d 883, 887 (5th Cir. 2014).

                                    Argument and Authorities

       Defendants National Fire and Marine Insurance Company, The Medical Protective

Company, Berkshire Hathaway Inc. and Thomas Meireant (collectively “Removing

Defendants”) filed a notice of removal of Western’s Texas state court petition, which asserts

common law and statutory claims arising solely out of Texas law. The only alleged basis for

jurisdiction is diversity. Notice of Removal, Dkt. 1 at 3. Diversity, however, is lacking because

Western brought valid claims against a Texas corporation, HLS; accordingly, this cause must be

remanded back to Texas state court.



PLAINTIFF WESTERN HEALTHCARE LLC’S MOTION TO REMAND                                                 4
   Case 3:16-cv-00565-L Document 7 Filed 03/28/16                Page 9 of 16 PageID 125


   A. Western’s state court petition lacks diversity on its face.

       Diversity jurisdiction under 28 U.S.C. § 1332(a) requires a showing that there is complete

diversity of citizenship between the plaintiff and defendants and that the amount in controversy

exceeds $75,000. Western does not contest that the amount in controversy exceeds $75,000. It is

clear, however, from the face of its Petition that diversity is lacking because Western and

Defendant HLS are both citizens of the State of Texas. Ex. A at ¶¶ 2, 4. Removing Defendants

agree that HLS is a citizen of Texas. Notice of Removal, Dkt. 1 at 6. Accordingly, because the

Plaintiff and one of the Defendants are Texas residents, there is no diversity and this case should

be remanded to the state court where it was originally filed.

   B. HLS was properly joined as a party in Western’s Petition.

       In order to avoid the clear and obvious consequences of the lack of diversity resulting

from Defendant HLS’s inclusion as a party, the Removing Defendants argue that HLS was

improperly or “fraudulently” joined to avoid diversity. Notice of Removal, Dkt. 1 at 5-8. A party

seeking to remove on the basis of improper joinder bears a “heavy” burden and any contested

issues of fact or ambiguities in state law must be resolved in favor of the plaintiff. African

Methodist Episcopal Church v. Lucien, 756 F.3d 788, 793 (5th Cir. 2014). If a defendant

removes solely on the basis of fraudulent joinder and cannot meet this burden, then remand is

mandatory. Smallwood v. Illinois Cent. R. Co., 385 F.3d 568, 575 (5th Cir. 2004). Here, the

Removing Defendants cannot meet this burden.

               i.      Improper joinder only arises when there is no possibility of recovery
                       under Texas pleading standards.

       Fraudulent joinder may be proved by either demonstrating fraud in the pleadings or that,

under a Rule 12(b)(6)-like analysis, the plaintiff failed to state a claim against the non-diverse

defendant. Smallwood v. Illinois Cent. R. Co., 385 F.3d 568, 573 (5th Cir. 2004). Removing


PLAINTIFF WESTERN HEALTHCARE LLC’S MOTION TO REMAND                                              5
   Case 3:16-cv-00565-L Document 7 Filed 03/28/16                Page 10 of 16 PageID 126


Defendants do not allege fraud in the pleadings, only that Western has failed to state a claim

against HLS. Notice of Removal, Dkt. 1 at 6. “[T]he test for fraudulent joinder is whether the

defendant has demonstrated that there is no possibility of recovery by the plaintiff against an in-

state defendant, which stated differently means that there is no reasonable basis for the district

court to predict that the plaintiff might be able to recover against an in-state defendant.” Id.

(emphasis added). The court need not “determine whether plaintiff will actually or even probably

prevail on the merits of the claim, but look only for a possibility that the plaintiff might do so.”

Guillory v. PPG Indus., Inc., 434 F.3d 303, 308–09 (5th Cir. 2005).

       Although improper joinder analysis has been likened to the Rule 12(b)(6) analysis, this

characterization comes with a critical caveat. Improper joinder is determined not under the

federal pleading standards, but under the state court pleading standards. Int'l Energy Ventures

Mgmt., L.L.C. v. United Energy Group, Ltd., 800 F.3d 143, 149 (5th Cir. 2015). Texas pleading

standards are less onerous than those set forth by the federal courts. Texas courts follow a “fair

notice” standard, which looks to “whether the opposing party can ascertain from the pleading the

nature and basic issues of the controversy and what testimony will be relevant.” Horizon/CMS

Healthcare Corp. v. Auld, 34 S.W.3d 887, 896 (Tex. 2000). Texas Rule of Civil Procedure 45

simply requires that a petition “consist of a statement in plain and concise language of the

plaintiff’s cause of action….That an allegation be evidentiary or be of legal conclusion shall not

be grounds for an objection when fair notice to the opponent is given by the allegations as a

whole.” Likewise, Texas Rule of Civil Procedure 47, which sets forth the required elements of a

claim for relief does not require that the plaintiff present any evidence or specific facts on which

it bases its claim. See also Texas Dept. of Parks & Wildlife v. Miranda, 133 S.W.3d 217, 230

(Tex. 2004). Moreover, under Texas pleading standards, “the petition should be construed



PLAINTIFF WESTERN HEALTHCARE LLC’S MOTION TO REMAND                                               6
    Case 3:16-cv-00565-L Document 7 Filed 03/28/16              Page 11 of 16 PageID 127


liberally in favor of the pleader…A court should uphold the petition as to a cause of action that

may be reasonably inferred from what is specifically stated, even if an element of the cause of

action is not specifically alleged.” Boyles v. Kerr, 855 S.W.2d 593, 601 (Tex. 1993) (internal

citations omitted).

               ii.    Removing Defendants cannot meet their burden to show that there is
                      no possibility of recovery against HLS under Texas pleading
                      standards.

       Western’s allegations against HLS in its Original Petition are more than sufficient to

withstand the Removing Defendants’ allegations of improper joinder under the Texas pleading

standard.1 Specifically, Western alleged that it had hired HLS to assist it in obtaining insurance

for its physician staffing service business. Ex. A at ¶¶ 10-11. Western provided HLS with its

specific requirements and HLS submitted a proposal to Western selecting NFM to provide

insurance, which purported to meet such needs. Id. Relying on HLS’s representations that the

provider and policy selected met the quality and coverage needs it provided to HLS, Western

accepted the proposal and obtained insurance from NFM. Id. The quality and coverage of the

insurance, however, was not as HLS purported and in fact, unbeknownst to Western, was an

“eroding limits” policy. Id. at ¶ 14. As is obvious from the entirety of Western’s Petition,

Western’s claim is based upon the fact that an “eroding limits” policy did not meet the insurance

requirements provided to HLS and as such HLS’s representations that the selected insurance plan

and provider met its needs was false or misleading. Moreover, it is also clear that, had the

insurance proposal prepared by HLS actually met Western’s needs as opposed to purported to

meet such needs, Western would have avoided the injuries caused by HLS, Mr. Mehta and the


1
  HLS has filed a Motion to Dismiss Pursuant to FRCP 12(B)(6) which addresses Western’s
allegations under the federal pleading standards. As set forth in Western’s contemporaneously
filed Response to that Motion, Western’s allegations against HLS meet the higher, federal
standards as well.

PLAINTIFF WESTERN HEALTHCARE LLC’S MOTION TO REMAND                                             7
    Case 3:16-cv-00565-L Document 7 Filed 03/28/16               Page 12 of 16 PageID 128


Removing Defendants. These facts provide enough background under the Texas pleading

requirements to support Western’s claims for violations under the Texas Insurance Code,

violations of the DTPA and negligence.2

       Specifically, as set forth in the petition, the facts support Western’s claims that HLS

made “statements misrepresenting the terms of the Policies, [and] the benefits and advantages of

the Policies” by (1) “making an untrue statement of material fact”—stating to Western that the

Policies met the specifically identified insurance needs; (2) “failing to state a material fact

necessary to make other statements made not misleading”—failing to disclose that the policy

selected was an “eroding limits” policy; and (3) “making a statement in a manner that would

mislead a reasonably prudent person to a false conclusion of material fact”—implying to

Western that the policy and provided selected met its specifically identified needs. See Ex. A at ¶

36(a), (b)(i)-(iii); Tex. Ins. Code § 541.051; Tex. Ins. Code § 541.151. The pleaded facts that

HLS failed to disclose that the proposed policy did not meet Western’s needs likewise support

Western’s DTPA allegations that HLS at the very least: (1) represented “that services

have…characteristics…benefits, or qualities that they do not have…;” (2) represented “that an

agreement confers or involves rights, remedies, or obligations that it does not…;” (3) failed “to

disclose information about services that was known at the time…to induce [Western] to enter

into a transaction that [it] would not have entered into if the information had been disclosed;” (4)

“took advantage of [Western’s] lack of knowledge…to a grossly unfair degree;” and (5) violated

the Texas Insurance Code. See Ex. A at ¶ 47(b)-(f); Tex. Bus. & Com. Code § 17.46(b).

Accordingly, HLS was provided with sufficient notice of the issues and controversy related to its

violations of the Texas Insurance Code and DTPA. Auld, 34 S.W.3d at 896.

2
 Although Western’s petition properly alleges four claims against HLS, only one viable claim is
necessary to support jurisdiction. 28 U.S.C. § 1332(a).

PLAINTIFF WESTERN HEALTHCARE LLC’S MOTION TO REMAND                                               8
   Case 3:16-cv-00565-L Document 7 Filed 03/28/16                  Page 13 of 16 PageID 129


       The pleaded facts also clearly establish a cause of action in negligence against HLS. The

Petition states that Western sought out HLS’s services to seek out and identify an insurance

policy that met its specific needs. Texas law recognizes that insurance brokers owe duties to their

clients, including to use reasonable diligence to attempt to procure insurance that meets

requested needs and to inform the client if it is unable to do so. See Brankin v. Time Ins. Co.,

4:08-CV-666-Y, 2009 WL 614818, at *2 (N.D. Tex. Mar. 10, 2009) (quoting May v. United

Services Ass'n of Am., 844 S.W.2d 666, 669 (Tex. 1992) (granting motion to remand where

insurance broker misrepresented coverage for identified pre-existing condition). Here, Western

alleges that HLS breached its duties in “selecting the insurance program despite knowing

Western’s particular needs” and in “selecting the insurer and program administrator.” Ex. A at ¶

51(a)(b). The Petition therefore provided sufficient notice of the issues underlying HLS’s

negligence: that it breached it duty of care to Western and that Western’s damages were a

proximate result of that breach. Auld, 34 S.W.3d at 896.

       Although the Removing Defendants complain that “Western does not allege any facts

regarding the ‘reasonable diligence’” that is irrelevant under the Texas pleading standard because

the Texas Rules do not require the pleading of any specific facts. (Notice of Removal at ¶ 22);

see Tex. R. Civ. P. 47; Auld, 34 S.W.3d at 896; Boyles, 855 S.W.2d at 601. Likewise, their

assertion that Western does not allege facts to connect HLS’s conduct to the damages it suffered

in the handling of the Illinois lawsuit is not dispositive; moreover, it is incorrect. Id. at ¶ 21. Not

only does the Petition specifically allege that HLS’s conduct proximately caused its injuries with

respect to all causes of action asserted, but the facts laid out lead to the same conclusion: but-for

HLS’s misrepresentation of the policy as meeting Western’s needs Western would not have

agreed to accept policy; and even if it would have—which is not alleged and is denied—the



PLAINTIFF WESTERN HEALTHCARE LLC’S MOTION TO REMAND                                                  9
   Case 3:16-cv-00565-L Document 7 Filed 03/28/16                  Page 14 of 16 PageID 130


pleaded facts demonstrate that had HLS not misrepresented the terms and properly complied

with its duties to inform Western of its inability to obtain insurance that met all of its needs,

Western would have been able to properly respond to the discovery request regarding insurance

coverage that led to the fiasco in the first place. See Ex. A at ¶¶ 11, 13-15, 18, 39, 44, 48 and 52.

               iii.    The cases relied on by the Removing Defendants to support improper
                       joinder are inapplicable because they apply the wrong pleading
                       standard.

       The cases cited by the Removing Defendants in support of removal under the improper

joinder doctrine are inapplicable because they rely on federal and not state court pleading

requirements. First, the Barclay v. State Farm Lloyds case was decided under the wrong pleading

standard. CIV.A. H-14-3649, 2015 WL 1408185, at *2 (S.D. Tex. Mar. 26, 2015). Without the

benefit of the Int’l Energy Ventures opinion from the Fifth Circuit, which would be released five

months later, the district court analyzed the state court pleading under the Twombly and Iqbal

federal pleading standards and Federal Rule of Civil Procedure 9 instead of the Texas “notice

pleading” standard. Id. (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007); Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009)); Int'l Energy Ventures Mgmt., 800 F.3d at 149. As such, the

Barclay opinion offers no guidance and carries no weight here. Likewise, the Druker case was

decided on federal pleading requirements and expressly rejected the plaintiff’s plea to consider

remand under the Texas notice pleading requirements. Druker v. Fortis Health, CIV.A. 5:06-

CV-00052, 2007 WL 38322, at *3 (S.D. Tex. Jan. 4, 2007).

       Finally, although the Griggs opinion did not explicitly reject the application of Texas

notice pleading, it held that where there were virtually no specific allegations against the non-

diverse defendant, removal was proper. Griggs v. State Farm Lloyds, 181 F.3d 694, 699 (5th Cir.

1999). Once presented with additional facts by way of affidavit, the court found that removal

was still proper because the additional facts merely stated that the agent made claims that she

PLAINTIFF WESTERN HEALTHCARE LLC’S MOTION TO REMAND                                                10
    Case 3:16-cv-00565-L Document 7 Filed 03/28/16               Page 15 of 16 PageID 131


would handle the claims professionally and would monitor the claim. Id. Here, Western’s claims

and factual allegations regarding HLS’s conduct, although certainly implicating their

professionalism, refer to specific misrepresentations and failures to obtain a policy that met the

specific needs that Western had provided them, not the sort of puffery found non-actionable by

the Griggs court. Ex. A at ¶¶ 11, 14. Western has stated sufficient facts to give Defendants’

notice of the claims against HLS and the issues involved.

    C. The Court should award Western its attorneys’ fees associated with pursuing
       remand.

       28 U.S.C. § 1447(c) authorizes the court to “require payment of just costs and any actual

expenses, including attorneys’ fees, incurred as a result of the removal.” Attorneys’ fees should

be awarded where the removing party “lacked an objectively reasonable basis for seeking

removal.” Martin v. Franklin Capital Corp., 546 U.S. 132, 141 (2005). Here, the Defendants’

removal was not objectively reasonable as evidenced by the fact that Defendants’ applied the

wrong pleading standard and superseded case law in arguing that Western had failed to state a

claim and ignored the facts in the Petition that clearly established HLS’s wrongdoing and

connection to Western’s injuries. Accordingly, Western requests that in ordering remand, that the

Court authorize Western to seek all attorneys’ fees and costs incurred as a result of Defendants’

unreasonable removal.3 See Richard v. Time Warner Cable Media, Inc., 960 F. Supp. 2d 659,

664 (N.D. Tex. 2013).

                                           Conclusion

       For all the reasons stated above, the Removing Defendants have failed to meet their high

burden to show that HLS was improperly joined to defeat diversity jurisdiction. Western’s


3
  As Western anticipates that additional fees will be incurred in replying to any response filed by
the Removing Defendants, Western will provide a complete request for fees at such time as the
briefing of this issue is closed.

PLAINTIFF WESTERN HEALTHCARE LLC’S MOTION TO REMAND                                             11
   Case 3:16-cv-00565-L Document 7 Filed 03/28/16                 Page 16 of 16 PageID 132


petition sets forth sufficient facts under the Texas notice pleading standard to state a claim

against HLS, and as such, complete diversity is lacking and the Court must remand this case

back to Texas state court. Western requests that the Court remand this cause and award it any

other relief to which it is entitled in law or equity.

                                                Respectfully submitted,

                                                /s/ Ross Cunningham
                                                ROSS CUNNINGHAM
                                                State Bar No. 24007062
                                                STEVEN SANFELIPPO
                                                State Bar No. 24027827
                                                REBECCA L. SOLOMON
                                                State Bar No. 24083892
                                                CUNNINGHAM SWAIM, LLP
                                                7557 Rambler Road, Suite 440
                                                Dallas, Texas 75231
                                                Phone: 214-646-1495
                                                Facsimile: 214-613-1163
                                                rcunningham@cunninghamswaim.com
                                                ssanfelippo@cunninghamswaim.com
                                                rsolomon@cunninghamswaim.com

                                                ATTORNEYS FOR PLAINTIFF WESTERN
                                                HEALTHCARE LLC

                                  CERTIFICATE OF SERVICE

       The undersigned certifies that on this 28th day of March, 2016, all counsel of record are
being served with a copy of this document through the Courts CM/ECF system.

                                                /s/ Ross Cunningham
                                                Ross Cunningham




PLAINTIFF WESTERN HEALTHCARE LLC’S MOTION TO REMAND                                          12
